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                            Exhibit 33
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                             UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA

                               Case No: 6:20-cv-1240-Orl-WWB-EJK

   STATE FARM MUTUAL AUTOMOBILE
   INSURANCE COMPANY, and STATE
   FARM FIRE AND CASUALTY
   COMPANY,

                 Plaintiffs,
   vs.

   COMPLETE CARE CENTERS, LLC,
   F/K/A INTEGRATIVE PHYSICAL
   MEDICINE HOLDING, LLC,
   MARC G. OTT, and BRET G.
   SCHEUPLEIN,

              Defendants.
   _____________________________________/

                  DECLARATION OF STEPHEN BRIGHT IN SUPPORT OF


          I, Stephen Bright, declare under penalty of perjury, the following:

          1.     My name is Stephen Bright. I am over the age of eighteen (18) and fully

   competent to testify.

          2.     I am currently employed by Plaintiff State Farm Mutual Automobile

   Insurance Company as a Special Investigative Unit            Team Manager. In this role, I



   Medicine Holdin



          3.     State Farm Mutual Automobile Insurance Company and State Farm Fire



   Personal Injury Protection ("PIP")                                               benefits

                                                1
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                              -              . Pursuant to these policies, after receipt of certain

   documentation from medical providers, Plaintiffs issue payments for services allegedly

   re                                        In doing so, Plaintiffs rely on the representation by the

   medical providers that the services were lawfully provided.

          4.         I have personal knowledge of                                   . I have reviewed

                                        as described in greater detail below pertaining to Complete

                                                                                     Central Florida

                          ,                                        . These records are created and

   maintained by Plaintiffs in

   practice.

          5.                                                                                   claims

   submissions between January 1, 2016 and December 14, 2019

   former subsidiary entities, as follows:

               a.    The IPM clinics, comprised of:

                    1.        Integrative Health of Orlando LLC;

                    2.        Park Lake Physical Medicine, LLC;

                    3.        Integrative Physical Medicine of Lake Mary, LLC;

                    4.        Integrative Physical Medicine of Winter Haven LLC;

                    5.        Integrative Physical Medicine of Mount Dora, LLC;

                    6.        Integrative Physical Medicine of Kissimmee LLC;

                    7.        Integrative Physical Medicine of Debary, LLC;

                    8.        Integrative Physical Medicine of Maitland, LLC;

                    9.        Integrative Physical Medicine of West Orlando, LLC;

                    10.       Integrative Physical Medicine of Lakeland, LLC;


                                                       2
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                   11.   Integrative Physical Medicine of Metro West, LLC;

                   12.   Integrative Physical Medicine of Plant City, LLC f/k/a Integrative
                         Physical Medicine of Palm Coast, LLC;

                   13.   Integrative Physical Medicine of Clermont, LLC;

                   14.   Integrative Physical Medicine of Leesburg, LLC;

                   15.   Integrative Physical Medicine of Sanford, LLC;

                   16.   Integrative Physical Medicine of Waterford, LLC; and

                   17.   Integrative Physical Medicine of the Villages, LLC.

              b.    the CFI clinics, comprised of:

                   1.    Central Florida Imaging, LLC;

                   2.    Central Florida Imaging of Lakeland, LLC; and

                   3.    Central Florida Imaging of Leesburg, LLC.

              c.    the IA clinics, comprised of:

                   1.    Interventional Associates, LLC;

                   2.    Interventional Associates of Lakeland, LLC; and

                   3.    Interventional Associates of Leesburg, LLC.

         6.         CFI and IA submitted claims for payment of No-Fault Benefits to Plaintiffs.

         7.         As the summary chart attached as Exhibit 7

   1-8] in this action reflects, CFI submitted claims for payment of No-Fault Benefits to

   Plaintiffs in the amount of $3,384,655.07 for services allegedly rendered between March

   7, 2016 and December 13, 2019 to

   See [Doc. 1-8] at 30.

         8.         In reliance upon these claims for payment, Plaintiffs issued payments to CFI

   totaling $2,146,405.45 for insureds referred by IPM to CFI for healthcare services,

   including diagnostic imaging. See id.

                                                     3
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          9.     The summary chart attached as Exhibit 9                                         -

   10] in this action reflects, IA submitted claims for payment of No-Fault Benefits to Plaintiffs

   in the amount of $2,608,495.78 for services allegedly rendered between September 26,

   2016 and December 12, 2019                                                    IA by IPM. See

   [Doc. 1-10] at 23.

          10.    In reliance upon these claims for payment, Plaintiffs issued payments to IA

   totaling $369,767.96 for insureds referred by IPM to IA for healthcare services, including

   orthopedic, interventional pain management, and other specialty services. See id.

          11.    In total, Plaintiffs paid $2,516,173.41 in No-Fault Benefits for services

                                                     pursuant to referrals from IPM. Plaintiffs

   have not received any refunds of these payments.

          12.    Plaintiffs produced copies of each payment draft issued to IPM, CFI and IA

   during discovery in this action. These records were endorsed with bates labels

   SF663348PROD through SF703033PROD.

          13.    Representative examples of payment drafts issued to CFI and IA for

   services rendered to             insureds pursuant to referrals by IPM are attached hereto

   as composite Exhibit A.

          14.    By submitting, or causing to be submitted, bills for services that CFI and IA

                                              , Defendants represented they were operating

   lawfully and that the bills were valid and compensable.

          15.    Had

   IA were unlawful because, among other reasons, the patients at issue were unlawfully




                                                 4
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   referred between medical providers, Plaintiffs would not have issued payments for the

   subject claims.



          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

   is true and correct.



   Executed this __ day of March, 2022.



                                     _____________________________
                                     STEPHEN BRIGHT




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                         Exhibit A
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